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Fill in this information to identify the case:       Main Document    Page 1 of 21
               Robin Mowbray
Debtor Name __________________________________________________________________
                                             Central                        California
United States Bankruptcy Court for the:_______________________ District of ________
                                                                         (State)

               8:25-bk-10543-TA
Case number: _________________________




Official Form 426
Periodic Report Regarding Value, Operations, and Profitability of Entities
in Which the Debtor’s Estate Holds a Substantial or Controlling Interest
                                                                                                                                         12/17


           This is the Periodic Report as of _12/31/2024________ on the value, operations, and profitability of those entities
           in which a Debtor holds, or two or more Debtors collectively hold, a substantial or controlling interest (a “Controlled
           Non-Debtor Entity”), as required by Bankruptcy Rule 2015.3. For purposes of this form, “Debtor” shall include the
           estate of such Debtor.
            Robin Mowbray holds a substantial or controlling interest in the following entities:
               Name of Controlled Non-Debtor Entity                                      Interest of the Debtor          Tab #

            Phoenix Traffic Management Inc.                                                     100%                        1




           This Periodic Report contains separate reports (Entity Reports) on the value, operations, and profitability of each
           Controlled Non-Debtor Entity.

           Each Entity Report consists of five exhibits.
               Exhibit A contains the most recently available: balance sheet, statement of income (loss), statement of cash flows,
                and a statement of changes in shareholders’ or partners’ equity (deficit) for the period covered by the Entity Report,
                along with summarized footnotes.
               Exhibit B describes the Controlled Non-Debtor Entity’s business operations.

               Exhibit C describes claims between the Controlled Non-Debtor Entity and any other Controlled Non-Debtor Entity.

               Exhibit D describes how federal, state or local taxes, and any tax attributes, refunds, or other benefits, have been
                allocated between or among the Controlled Non-Debtor Entity and any Debtor or any other Controlled Non-Debtor
                Entity and includes a copy of each tax sharing or tax allocation agreement to which the Controlled Non-Debtor
                Entity is a party with any other Controlled Non-Debtor Entity.

               Exhibit E describes any payment, by the Controlled Non-Debtor Entity, of any claims, administrative expenses or
                professional fees that have been or could be asserted against any Debtor, or the incurrence of any obligation to make
                such payments, together with the reason for the entity’s payment thereof or incurrence of any obligation with
                respect thereto.

           This Periodic Report must be signed by a representative of the trustee or debtor in possession.




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                        TAB 1
                  Phoenix Traffic
                 Management Inc.
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              Exhibit A: Financial Statements for Phoenix Traffic Management Inc.




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               _______________________________________________________                                       8:25-bk-10543-TA
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              Exhibit A-1: Balance Sheet for Phoenix Traffic Management Inc. as of [date]



          [Provide a balance sheet dated as of the end of the most recent 3-month period of the current fiscal year and as of the
          end of the preceding fiscal year.

          Describe the source of this information.]




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Exhibit A-1


 PHOENIX TRAFFIC MANAGEMENT INC.
 Balance Sheet                               FYE 2024          Q1 2025


Assets
 Current Assets
   Cash & Cash Equivalents                         377,295
   Accounts Receivable                            1,691,838
   Other Current Assets                             89,720
 Total Current Assets                             2,158,853              -
 Fixed Assets                                       57,700


Total Assets                                      2,216,553              -


Liabilities
 Current Liabilities
   Accounts Payable                                136,280
   Credit Cards                                         -
   Affiliated Note Payable                        2,461,853
   Other Current Liabilities                       111,474
 Total Current Liabilities                        2,709,607              -
 Long Term Liabilities                             460,677


Total Liabilities                                 3,170,283              -


Equity                                             (953,731)


Total Liabilities & Equity                        2,216,553              -


Source: Internal, unaudited financial reporting
Q1 2025 financials remain open
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              Exhibit A-2: Statement of Income (Loss) for Phoenix Traffic Management Inc.for period ending [date]


              [Provide a statement of income (loss) for the following periods:

               (i) For the initial report:

                  a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                     the current fiscal year; and

                  b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

              Describe the source of this information.]




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Exhibit A-2


 PHOENIX TRAFFIC MANAGEMENT INC.
 Statement of Income (Loss)                       FYE 2024        Q1 25
Revenue
  Income                                             6,366,496
Total Revenue                                        6,366,496            -


Expenses
 Salaries and Wages                                  3,850,536
 Vehicle & Equipment Exp                             1,088,199
 Insurance Expense                                    666,065
 Other Operating Exp                                   75,848
 Legal & Professional Fees                             84,897
 Office Expenses                                       61,778
 Travel, Lodging, Meals                                17,363
 Interest Expense                                     228,936
Total Expenses                                       6,073,622            -


Operating Income                                      292,873             -


Other Expense (Income)                                  (5,287)           -
Depreciation Expense                                         -            -


Net Income                                            298,160             -


Source: Internal, unaudited financial reporting
Q1 2025 financials remain open
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              Exhibit A-3: Statement of Cash Flows for Phoenix Traffic Management Inc. for period ending [date]


              [Provide a statement of changes in cash position for the following periods:

               (i) For the initial report:

                    a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                      the current fiscal year; and

                    b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

              Describe the source of this information.]




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Exhibit A-3

 PHOENIX TRAFFIC MANAGEMENT INC.
 Statement of Cash Flows
PHOENIX TRAFFIC MANAGEMENT INC. does not prepare Cash Flow
Statements as part of its normal financial reporting.
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              Exhibit A-4: Statement of Changes in Shareholders’/Partners’ Equity ( Deficit) for Phoenix Traffic Management Inc.
              for period ending [date]


              [Provide a statement of changes in shareholders’/partners equity (deficit) for the following periods:

               (i) For the initial report:

                    a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                      the current fiscal year; and

                    b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

               Describe the source of this information.]




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Exhibit A-4

 PHOENIX TRAFFIC MANAGEMENT INC.
 Statement of Changes in Shareholders' / Partners' Equity (Deficit)
PHOENIX TRAFFIC MANAGEMENT INC. does not prepare changes in
Shareholders' / Partners' Equity as part of its normal financial reporting.
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              Exhibit B: Description of Operations for Phoenix Traffic Management Inc.


              [Describe the nature and extent of the Debtor’s interest in the Controlled Non-Debtor Entity.

              Describe the business conducted and intended to be conducted by the Controlled Non-Debtor Entity, focusing on the
              entity’s dominant business segments.

              Describe the source of this information.]




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Exhibit B

 PHOENIX TRAFFIC MANAGEMENT INC.
 Description of Operations
Phoenix Traffic Management, Inc. (“PTM”), provides traffic control services
to vegetation management companies. PTM presently has two customers –
Pino Tree Service, Inc., which is 100% owned by PTM’s affiliate, The Original
Mowbray’s Tree Service (”MTS”), and a third party vegetation management
company unaffiliated with PTM or the Debtor. Prior to PTM’s
establishment, MTS hired third party traffic control companies for its
projects.
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              Exhibit C: Description of Intercompany Claims


              [List and describe the Controlled Non-Debtor Entity’s claims against any other Controlled Non-Debtor Entity, together with
              the basis for such claims and whether each claim is contingent, unliquidated or disputed.

              Describe the source of this information.]




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Exhibit C

 PHOENIX TRAFFIC MANAGEMENT INC.
 Description of Intercompany Claims
PHOENIX TRAFFIC MANAGEMENT INC. does not have any amounts due to it
by any affiliated entities* and so is not owed anything by any other
Controlled Non-Debtor Entity of Debtor Robin E. Mowbray. Phoenix does
currently owe Mowbray's Tree Service In. approximately $2.46 million, as
shown on its balance sheet (Exhibit A-1) as an Affiliated Note Payable.




*One of the customers of Phoenix is an affiliated company Pino Tree Service Inc., As of Dec 31,
2025 Phoenix receivables from Pino summed $1.5Million, Pino Tree pays its bills to Phoenix
weekly and Phoenix does not consider this customer an intercompany entity but rather an
affiliated customer.
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              Exhibit D: Allocation of Tax Liabilities and Assets


              [Describe how income, losses, tax payments, tax refunds, or other tax attributes relating to federal, state, or local taxes
              have been allocated between or among the Controlled Non-Debtor Entity and one or more other Controlled Non-Debtor
              Entities.

              Include a copy of each tax sharing or tax allocation agreement to which the entity is a party with any other Controlled
              Non-Debtor Entity.

              Describe the source of this information.]




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Exhibit D

 PHOENIX TRAFFIC MANAGEMENT INC.
 Allocation of Tax Liabilities and Assets
PHOENIX TRAFFIC MANAGEMENT INC. manages its own tax considerations
and does not allocate any income, losses, tax payments, tax refunds, or
other tax attrributes between or among any other Controlled Non-Debtor
Entity of Debtor Robin E. Mowbray
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              Exhibit E: Description of Controlled Non-Debtor Entity’s payments of Administrative Expenses, or Professional Fees
              otherwise payable by a Debtor


              [Describe any payment made, or obligations incurred (or claims purchased), by the Controlled Non-Debtor Entity in
              connection with any claims, administrative expenses, or professional fees that have been or could be asserted against
              any Debtor.

              Describe the source of this information.]




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Exhibit E

 PHOENIX TRAFFIC MANAGEMENT INC.
 Description of Payments of Administrative Expenses Owed by a Debtor
PHOENIX TRAFFIC MANAGEMENT INC. has not paid any Claims,
Administrative Expenses, or Professional Fees that have been or could be
asserted against Debtor Robin E. Mowbray
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10345 W. Olympic Blvd., Los Angeles, CA 90064

A true and correct copy of the foregoing document entitled (specify): PERIODIC REPORT REGARDING VALUE,
OPERATIONS, AND PROFITABILITY OF ENTITIES IN WHICH THE DEBTOR’S ESTATE HOLDS A SUBSTANTIAL
OR CONTROLLING INTEREST will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
April 8, 2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

     Kenneth J Catanzarite kcatanzarite@catanzarite.com
     Lauren N Gans lgans@elkinskalt.com, TParizad@elkinskalt.com
     Jessica L Giannetta jessica@giannettaenrico.com, melanie@giannettaenrico.com
     Queenie K Ng queenie.k.ng@usdoj.gov
     Todd C. Ringstad becky@ringstadlaw.com, arlene@ringstadlaw.com
     Ahren A Tiller ahren.tiller@blc-sd.com, 4436097420@filings.docketbird.com;brett.bodie@blc-
        sd.com;anika@blc-sd.com;derek@blc-sd.com;kreyes@blc-sd.com;megan@blc-sd.com;nicole@blc-
        sd.com;danny@blc-sd.com;angie@blc-sd.com;kreyes@blc-sd.com
     United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
     Roye Zur rzur@elkinskalt.com,
        lwageman@elkinskalt.com;1648609420@filings.docketbird.com;rzur@ecf.courtdrive.com

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) April 8, 2025, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 8, 2025, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 8, 2025             Lauren B. Wageman                                                    /s/ Lauren B. Wageman
 Date                         Printed Name                                                      Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
